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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


SAMIA LEONARD,

       Plaintiff,
                                            Case No. 24-cv-11486
v.
                                            Honorable Robert J. White
KIPP DETROIT IMANI ACADEMY,
et al.,

       Defendants.


     ORDER WITHDRAWING THOMAS R. PAXTON AS COUNSEL FOR
                       DEFENDANTS



       This matter having come before the Court on the Notice of Withdrawal of

Counsel for Defendants (ECF No. 22), and the Court being otherwise fully advised

in the premises;

       IT IS HEREBY ORDERED that Thomas R. Paxton formerly of Ogletree,

Deakins, Nash, Smoak & Stewart, PLLC is hereby withdrawn as counsel for

Defendants in the above-entitled case. The Court notes that Richard W. Warren and

D. Colby Orton of Ogletree, Deakins, Nash, Smoak & Stewart PLLC will continue

to serve as counsel for Defendants in this matter.
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      SO ORDERED.


Dated: January 13, 2025               s/Robert J. White
                                      Robert J. White
                                      United States District Judge




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